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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA


   IN RE: ZANTAC (RANITIDINE)                                                           MDL NO. 2924
   PRODUCTS LIABILITY                                                                    20-MD-2924
   LITIGATION
                                                           JUDGE ROBIN L. ROSENBERG
                                                 MAGISTRATE JUDGE BRUCE E. REINHART

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    ORDER REGARDING JUNE 3 AND JUNE 4 HEARINGS ON MOTIONS TO DISMISS

            The Court previously informed the parties that it would hold hearings on motions to dismiss

   on June 3 and June 4, 2021. The Court now apprises the parties that the hearings will begin each

   day at 10:00 a.m. EST. The Court has set aside both days for the hearings. All counsel arguing

   the motions should be available beginning at 10:00 a.m. EST on the day that his or her motion is

   heard.

            The hearings will be conducted by Zoom teleconference. No counsel is permitted to appear

   in person. Any plaintiffs’ counsel seeking to attend shall contact plaintiffs’ liaison Frank Maderal.

   Any defense counsel seeking to attend shall contact defense liaison Joanne O’Connor. Counsel

   who have not yet made an appearance and do not want to identify their clients or potential clients

   to the liaisons, and any individuals not affiliated with a party to the litigation, may instead contact

   Special Master Jaime Dodge, Director of the Emory Institute for Complex Litigation, to be added

   to the attendee list. In advance of the hearings, liaison counsel will provide the log-in credentials

   and instructions to all attendees. Only those who have been given advance notice of their desire

   to attend will be admitted to the hearings absent special circumstances.

            The Court will hear arguments on the motions, in the order set forth below, at the following

   docket entries during the morning of June 3: first hearing - 3111 (each side to argue for 15 minutes)
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   and second hearing - 3109 (each side to argue for 10 minutes), and during the afternoon of June 3:

   third hearing - 3116 (each side to argue for 20 minutes) and fourth hearing - 3115 (each side to

   argue for 15 minutes).

          The Court will hear arguments on the motions in the order set forth below, at the following

   docket entries during the morning of June 4: first hearing - 3114 (15 minutes for each side) and

   second hearing - 3105 (20 minutes for each side), and during the afternoon of June 4: third hearing

   - 3112 (10 minutes for each side), fourth hearing - 3107 (10 minutes for each side), and fifth

   hearing - 3113 (10 minutes for each side).

          Following the parties’ presentations, the Court may direct questions to counsel. The length

   of each hearing may vary depending on the extent of the Court’s questioning. The Court

   anticipates that the questioning for motion 3105 may stretch into the afternoon of June 4.

          Argument from the parties must be limited to the arguments in the parties’ briefing; the

   hearing is not an opportunity for the parties to raise new arguments for the first time. E.g., APA

   Excelsior III L.P. v. Premiere Techs., Inc., 476 F.3d 1261, 1269 (11th Cir. 2007) (refusing to

   consider claims not raised in a party’s briefing and made for the first time at oral argument).

          The Court has a strong commitment to supporting the development of our next generation

   of lawyers. The Court is therefore supportive of parties and senior attorneys allowing

   less-experienced practitioners the opportunity to argue before the Court. A lesser-experienced

   practitioner arguing will not preclude a more senior attorney arguing on the same issue. In

   addition, the Court will allow for a limited amount of additional time for presentation on the motion

   being argued if a member of the Leadership Development Committee or other lesser-experienced

   practitioner participates in the presentation on the motion. The parties shall email the list of


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   presenters for the hearings to the Zantac email address, zantac_mdl@flsd.uscourts.gov, by no later

   than June 2, 2021 at 12:00 p.m.

           Finally, the Court previously informed the parties that they should reserve the date of June

   7 as a possible hearing date. The parties should continue to hold June 7 as a possible hearing date

   as the Court may, after the hearing days of June 3 and June 4, utilize some portion of June 7 as an

   additional hearing day, if necessary.

            DONE and ORDERED in Chambers, West Palm Beach, Florida, this 24th day of May,

   2021.

                                                        ________________________________
                                                        ROBIN L. ROSENBERG
                                                        UNITED STATES DISTRICT JUDGE




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